 1                                                                     The Honorable Mary Jo Heston
                                                                     Hearing Date: September 17, 2018
 2
                                                                              Hearing Time: 9:00 a.m.
 3                                                                                          Chapter 7
                                                                                    Location: Tacoma
 4
                                UNITED STATES BANKRUPTCY COURT
 5                              WESTERN DISTRICT OF WASHINGTON
 6
      In re                                              No. 17-41711
 7
 8    HEATHER STEWART,                                   DECLARATION OF KATHRYN A. ELLIS
                                                         IN SUPPORT OF MOTION TO APPROVE
 9                                    Debtor.            SALE OF PROPERTY FREE AND CLEAR
                                                         OF LIENS PURSUANT TO 11 U.S.C. § 363
10                                                       (f)
11
12            Kathryn A. Ellis, declares and states as follows:

13            1.     I am the Chapter 7 Trustee herein, have testimonial knowledge of the facts set
14
     forth in this declaration and am competent to testify thereto. I make this declaration in support
15
     of the motion to approve sale of the estate’s interest in the real property located at 8305 Cirque
16
     Dr W, #5, University Place, WA, free and clear of all liens.
17
18            2.     This matter was filed on April 28, 2017 and I was appointed Chapter 7 Trustee.

19   The debtor listed an ownership interest in the real property located at 8305 Cirque Dr W, #5,
20   University Place, WA, indicating her intention was to surrender the property to the lienholder.
21
     Accordingly, I engaged the services of Robin Tomazic with RE/MAX Metro Realty Inc. to list
22
     the property for sale and on November 22, 2017 this Court approved the application to appoint
23
     Robin Tomazic and RE/MAX Metro Realty Inc. as real estate agent and broker for the estate.
24
25   The property was originally listed for sale in the amount of $140,000.00 and an offer in the

26   amount of $146,000.00 was received from the current proposed buyer on December 11, 2017.
27
                                                                               KATHRYN A. ELLIS, ESQ.
28   DECLARATION OF KATHRYN A. ELLIS IN SUPPORT                                        5506 6th Ave S
                                                                                          Suite 207
     OF MOTION TO APPROVE SALE OF PROPERTY FREE                                      Seattle, WA 98108
     AND CLEAR OF LIENS PURSUANT TO 11 U.S.C. § 363 (f) - 1                           (206) 682-5002


Case 17-41711-MJH         Doc 34     Filed 09/05/18     Ent. 09/05/18 10:48:50      Pg. 1 of 27
 1   After extensive negotiations regarding the short sale, the buyer has increased his offer to
 2
     $171,690. The offer is the highest and best offer received to date.
 3
             3.      The real property named above is purportedly encumbered by liens in the
 4
     following priority and amounts:
 5
 6    Creditor                                       Recording Date            Approximate Amount Due
 7    Pierce County Treasurer                        N/A (Property Taxes)      $861.90

 8    Federal National Mortgage Association          3/2/2007                  $145,075.35

 9    The Bank of New York Mellon1                   3/2/2007                  $30,633.00

10    LVNV Funding LLC                               1/26/2018                 $1,794.18

11   I seek authority to pay the first position Deed of Trust of Federal National Mortgage Association,
12
     and/or assigns, in full in the amount of approximately $145,075.35, plus interest. I also seek
13
     authority to pay the second position Deed of Trust in favor of The Bank of New York Mellon,
14
     and/or assigns, in the amount of approximately $6,743.59, or such sum as may be negotiated or
15
16   adjusted to accomplish a sale, in full satisfaction of its lien against this property, after all costs of

17   closing, including real estate commissions, property taxes, excise taxes, statutory utility and/or
18   HOA liens, and other closing costs, together with a buyer’s premium to the estate in the amount
19
     of $15,000. A copy of the Purchase and Sale Agreement is attached hereto as Exhibit 1. The
20
     third position judgment lien in favor of LVNV Funding LLC will not be paid as it attaches to no
21
     value beyond the first and second position liens and is a post-petition avoidable lien.
22
23           4.      I understand and acknowledge that it is the Court’s practice to require a short sale

24   approval letter from a lienholder agreeing to have its lien satisfied by less than a full payoff in
25
26           1
                “The Bank of New York Mellon, fka The Bank of New York, as trustee for the benefit of the
                certificateholders of the CWHEQ Inc., CWHEQ Revolving Home Equity Loan Trust, Series 2007-
27              C”.
                                                                               KATHRYN A. ELLIS, ESQ.
28   DECLARATION OF KATHRYN A. ELLIS IN SUPPORT                                          5506 6th Ave S
                                                                                            Suite 207
     OF MOTION TO APPROVE SALE OF PROPERTY FREE                                        Seattle, WA 98108
     AND CLEAR OF LIENS PURSUANT TO 11 U.S.C. § 363 (f) - 2                             (206) 682-5002


Case 17-41711-MJH         Doc 34     Filed 09/05/18      Ent. 09/05/18 10:48:50         Pg. 2 of 27
 1   order to approve a short sale. However here, The Bank of New York Mellon’s servicer, Bank of
 2
     America NA, has declined to proceed with short sale negotiations, stating “court approval is
 3
     needed to proceed with the short sale after negotiation on the price are agreed to”. A copy of
 4
     Bank of America’s response is attached hereto as Exhibit 2. Accordingly, I seek approval of the
 5
 6   sale as proposed, subject to closing only upon receipt of written approval by The Bank of New

 7   York Mellon/Bank of America NA of the final sale.

 8             I CERTIFY UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE STATE
               OF WASHINGTON THAT THE FOREGOING STATEMENT IS BOTH TRUE AND
 9
               CORRECT.
10
               DATED this 5th day of September, 2018 at Seattle, Washington.
11
12                                                         By: /s/ Kathryn A. Ellis
13                                                         Kathryn A. Ellis
     C:\Shared\KAE\Dox\TRUSTEE\HStewart\sale_dec.wpd

14
15
16
17
18
19
20
21
22
23
24
25
26
27
                                                                                      KATHRYN A. ELLIS, ESQ.
28   DECLARATION OF KATHRYN A. ELLIS IN SUPPORT                                              5506 6th Ave S
                                                                                                Suite 207
     OF MOTION TO APPROVE SALE OF PROPERTY FREE                                            Seattle, WA 98108
     AND CLEAR OF LIENS PURSUANT TO 11 U.S.C. § 363 (f) - 3                                 (206) 682-5002


Case 17-41711-MJH              Doc 34         Filed 09/05/18   Ent. 09/05/18 10:48:50     Pg. 3 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 4 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 5 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 6 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 7 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 8 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 9 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 10 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 11 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 12 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 13 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 14 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 15 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 16 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 17 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 18 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 19 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 20 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 21 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 22 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 23 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 24 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 25 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 26 of 27
Case 17-41711-MJH   Doc 34   Filed 09/05/18   Ent. 09/05/18 10:48:50   Pg. 27 of 27
